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06                           UNITED STATES DISTRICT COURT
                            WESTERN DISTRICT OF WASHINGTON
07                                    AT SEATTLE

08 UNITED STATES OF AMERICA,              )           CASE NO. CR08-245 RSL
                                          )
09         Plaintiff,                     )
                                          )
10         v.                             )           SUMMARY REPORT OF U.S.
                                          )           MAGISTRATE JUDGE AS TO
11   ANGELINA PAULINE GONZALES,           )           ALLEGED VIOLATIONS
                                          )           OF SUPERVISED RELEASE
12         Defendant.                     )
     ____________________________________ )
13

14         An evidentiary hearing on supervised release revocation in this case was scheduled before

15 me on June 24, 2010. The United States was represented by AUSA Jill Otaki and the defendant

16 by John Crowley. The proceedings were digitally recorded.

17         Defendant had been sentenced on or about June 19, 2009 by the Honorable Robert S.

18 Lasnik on a charge of Conspiracy to Traffic in Motor Vehicles or Motor Vehicle Parts, and

19 sentenced to 22 days custody, 3 years supervised release. (Dkt. 249.)

20         The conditions of supervised release included the standard conditions plus the

21 requirements that defendant submit to search, pay restitution as determined, provide access to

22 financial information as requested, and participate in twelve months of electronic home


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     TO ALLEGED VIOLATIONS OF SUPERVISED RELEASE
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01 confinement.

02          In an application dated November 19, 2009 (Dkt. 273, 274), U.S. Probation Officer

03 Andrea G. Porter alleged the following violations of the conditions of supervised release:

04          1.     Failing to comply with her conditions of location monitoring on or about October

05 17, 2009 and November 5, 2009, in violation of the special condition that she serve 12 months

06 of electronic home confinement.

07          2.     Associating with a person convicted of a felony, in violation of standard condition

08 number 9.

09          3.     Possessing a controlled substance, oxycontin, on or about November 18, 2009, in

10 violation of standard condition number 7.

11          4.     Committing a federal, state or local crime by possessing oxycontin on or about

12 November 18, 2009, in violation of the standard condition that she not commit a federal, state or

13 local crime.

14          5.     Committing a federal, state or local crime by committing the crime of conspiracy

15 to distribute oxycontin on or about November 18, 2009, in violation of the standard condition that

16 she not commit a federal, state or local crime.

17          Defendant was advised in full as to those charges and as to her constitutional rights.

18          Defendant admitted the alleged violations and waived any evidentiary hearing as to

19 whether they occurred. (Dkt. 388.)

20          I therefore recommend the Court find defendant violated her supervised release as

21 alleged, and that the Court conduct a hearing limited to the issue of disposition. The next

22 hearing will be set before Judge Lasnik.


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01          Pending a final determination by the Court, defendant has been detained.

02          DATED this 24th day of June, 2010.



                                                 A
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04                                               Mary Alice Theiler
                                                 United States Magistrate Judge
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06
     cc:    District Judge:              Honorable Robert S. Lasnik
            AUSA:                        Jill Otaki
07          Defendant’s attorney:        John Crowley
            Probation officer:           Andrea G. Porter
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     SUMMARY REPORT OF U.S. MAGISTRATE JUDGE AS
     TO ALLEGED VIOLATIONS OF SUPERVISED RELEASE
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